Case 1:19-cv-00015-MV-JFR Document 5 Filed 01/22/19 Page 1 of 8
Case 1:19-cv-00015-MV-JFR Document 5 Filed 01/22/19 Page 2 of 8
Case 1:19-cv-00015-MV-JFR Document 5 Filed 01/22/19 Page 3 of 8
Case 1:19-cv-00015-MV-JFR Document 5 Filed 01/22/19 Page 4 of 8
Case 1:19-cv-00015-MV-JFR Document 5 Filed 01/22/19 Page 5 of 8
Case 1:19-cv-00015-MV-JFR Document 5 Filed 01/22/19 Page 6 of 8
Case 1:19-cv-00015-MV-JFR Document 5 Filed 01/22/19 Page 7 of 8
Case 1:19-cv-00015-MV-JFR Document 5 Filed 01/22/19 Page 8 of 8
